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                             UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA

 In Re: Trader Joe’s Company Dark Chocolate
 Litigation
                                                      Case No. 3:23-cv-00061

                            MOTION TO WITHDRAW AS ATTORNEY

        Pursuant to Local Rules 83.17, attorney David C. Magagna, Jr., for Plaintiffs Valerie Morrison,

Tamakia Herd, Vyacheslav Shausmanov, Robert L. Waring, and Rome Ish-Hurwitz, respectfully requests

his appearance be withdrawn from this matter.

        WHEREFORE, Plaintiffs Valerie Morrison, Tamakia Herd, Vyacheslav Shausmanov, Robert L.

Waring, and Rome Ish-Hurwitz respectfully request that the appearance of David C. Magagna, Jr. in this

matter be withdrawn.



                                                         Respectfully submitted,

Dated: 04/09/2024                               By:      /s/ David C. Magagna
                                                         David C. Magagna, Jr., Esquire
                                                         Tel: (215)592-1500
                                                         Fax: (215)592-4663
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on April 09, 2024, a true and correct copy of the Withdrawal of Appearance

was filed with the Clerk of Court through the Court’s Electronic Filing System and served on all counsel

of record using the CM/ECF system.




Dated: 04/09/2024                                        /s/ David C. Magagna
                                                         David C. Magagna, Jr., Esquire
                                                         Tel: (215)592-1500
                                                         Fax: (215)592-4663
